19-13011-jlg   Doc 48-1    Filed 10/23/19 Entered 10/23/19 19:40:16   Exhibit A.
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                       IN THE 84th JUDICIAL DISTRICT COURT
                          OF HUTCHINSON COUNTY, TEXAS
                                                                     Filed: 3/28/2018 3:05 PM
SIGNAL DRILLING, LLC,                                                Robin Stroud, District Clerk
Plaintiffand Counter-Defendant, and                                  Hutchinson County, Texas
                                                                     By:Robin Stroud
JATEN OIL COMPANY,
Involuntary Plaintiff and

RIPARIA, LC,
Intervenor


v.



NEW-TEX OPERATING, LLC,                                CAUSE NO. 41,971
NEW-TEX PETROLEUM II, LP,
NTP GENERAL II, LLC,
NEW-TEX OPERATING II, LLC,
HAYMAKER OIL AND GAS, LLC,
BEAU KELLEY, JOSEPH KELLEY,
SANDRA BROWN, PAUL HAYNER, and
MICHAEL CANNON, GREEN BANK, N.A.,
DND OIL, INC., PONDEROSA TX
OPERATING, LLC, f/k/a PONDEROSA
OPERATING, LLC, PONDEROSA
ENERGY, LLC, PONDEROSA-STATE
ENERGY, LLC; TEXAS GENERAL LAND
OFFICE, GEORGE P. BUSH, in his official
capacity as Texas Land Commissioner, and
THE STATE OF TEXAS,
Defendants.


              AGREED ORDER RE: MOTION TO ENFORCE THE
                               OCTOBER 6. 2017 ORDER


        On this 20th day of March, 2018, came on for consideration, the Motion To

Enforce The October 6,2017 Order, filed in the captioned matter by Signal Drilling,

LLC (hereinafter referred to as "Signal"), Jaten Oil Company (hereinafter referred

to as "Jaten") and Riparia, LC (hereinafter referred to as "Riparia"). As evidenced

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by the signatures below of counsel for Signal, Jaten, Riparia, Ponderosa Tx.

Operating, LLC (hereinafter referred to as"Ponderosa Operating") andPonderosa-

State Energy, LLC (hereinafter referred to as "Ponderosa-State"), the parties have

agreed to the following relief, and it is therefore ORDERED that:

      1.    Ponderosa Operating and/or Ponderosa-State, their officers and

managers, shall, onorbefore April 4,2018 at 9:00o'clock a.m., deposit intoAmarillo

National Bank (Borger Branch) Account No. xxxxx7353, the sum of $160,000, and

deliver to counsel for Signal, Jaten and Riparia, the following documents:

            •      All bank statements, checks and deposit slips for Amarillo
                   National Bank (Borger Branch) Account No. xxxxx7345
                   (hereinafter referred to as "Account No. 1") for the months of
                   February and March, 2018.

            •     All bank statements, checks and deposit slips for Amarillo
                  National Bank (Borger Branch) Account No. xxxxx7353
                  (hereinafter referred to as "Account No. 2M) for the month of
                   March, 2018.

            •     All deposit slips and wire remittances evidencing the receipt by
                  Ponderosa Operating of the proceeds of oil, gas, condensate and
                  other liquid hydrocarbons produced from agreed riverbed of the
                  Canadian River, as defined in the Canadian River Mineral
                  Boundary Agreement, effective January 1, 2002 (hereinafter
                  referredto as the "Agreed Riverbed"), from and after September
                   1,2017.

            •     The Texas Railroad Commission monthly production reports and
                  Texas Office of the Comptroller Reports, relating to oil, gas,
                  condensate and other liquid hydrocarbons produced from the
                  Agreed Riverbed for the month of February, 2018.

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             •     The DCP percent of proceeds (gas) statement and Valero crude
                   oil statements (for oil) relating to the production of oil, gas,
                   condensate and other liquid hydrocarbons from wells located on
                   the Agreed Riverbed for the month of February, 2018.

      2.     Ponderosa Operating, its officers, managers and employees shall, on or

before March 30,2018, execute all documents and take all action required to rescind

Ponderosa Operating's authority to draw checks on Account No. 1 and Account No.

2, as well as to execute all documents and take all action required to provide Kent

Ries, previously appointed as a Master in the captioned matter, pursuant to Tex. R.

Civ. P. 171, with the sole control of said accounts and the sole authority to draw

checks upon said accounts.

      3.    Ponderosa Operating, Ponderosa-State and their officers, managers and

employees shall direct the purchasers ofoil, gas, condensate and liquid hydrocarbons

produced from the Agreed Riverbed to deposit, during the pendency ofthis litigation,

36.75% of the proceeds of all oil, gas, condensate and other liquid hydrocarbons

produced from the Agreed Riverbed, from and after February 28,2018, directly into

Account No. 2, as well as to deposit, during the pendency ofthis litigation, 21.5% of

the proceeds ofoil, gas, condensate and other liquid hydrocarbons produced from the

Agreed Riverbed, from and after 28, 2018, directly into Account No. 1.

      4.     During the pendency of this litigation, the Master shall have the

following powers, duties and authority: (a) to determine and pay (without order ofthe

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Court) to Ponderosa Operating from Account No. 2, 49% of the reasonable and

necessary monthly Operating Costs1 of the oil and gas wells located in the Agreed

Riverbed, during the period of September 1,2017 through February 28,2018; (b) to

determine and pay(without order oftheCourt) to Ponderosa Operating from Account

No. 2, 49% of the reasonable and necessary monthly Operating Costs of the oil and

gas wells located in the Agreed Riverbed, from and after February 28, 2018; (c) to

pay (withoutorderof the Court)to PonderosaOperatingfrom AccountNo. 2,3 6.75%

of the monthly severance taxes paidby Ponderosa Operating to the State of Texas on

oil, gas, condensate and other liquid hydrocarbons produced from the Agreed

Riverbed, from and after February 28,2018; (d) to pay(without order of the Court)

to PonderosaOperating from AccountNo. 1,21.50% ofthe monthly severance taxes

paid by Ponderosa Operating to the State of Texas on oil, gas, condensate and other

liquid hydrocarbons produced from the Agreed Riverbed, from and after February

28,2018; (e) to hire those consultants required to advise the Master concerning those

matters described in paragraphs 4(a), 4(b), 4(c) and 4(d), and the Master and said



       1 As used in this Order, the term "Operating Costs" shall include the reasonable and
necessary costs incurred by Ponderosa Operating to produce and maintain existing wells, located in
the Agreed Riverbed, but shall not include the cost of drilling, completing or equipping a well.
Operating Costs shall also include ad valorem taxes assessed against any producing well, located in
the Agreed Riverbed. To the extent that ad valorem taxes are assessed against a royalty interest,
pertaining to an oil or gas well, located in the Agreed Riverbed, 49% ofthose ad valorem taxes shall
be paid from Account No. 1.

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consultants shall havethe authority to investigate all facts and inspectall oil and gas

wells and facilities on the Agreed Riverbed in connection with those matters

described in paragraphs 4(a), 4(b), 4(c) and 4(d); and (f) to determine and pay

(without order of the Court) to the Master from Account No. 2, the reasonable and

necessary compensation for his work, and that ofhis consultants, in this matter, from

and after October 6, 2017. In the event that funds are not available to pay from

Account No. 2, all ofthe sums to be paid under paragraphs 4(a), 4(b), 4(c), 4(d) and

4(f), then upon that contingency, the then current funds in Account No. 2 shall first

be allocated to the sums to be paid under paragraph 4(f), with the remaining funds,

if any, to be allocated equally to the sums to be paidunder paragraphs 4(a), 4(b), 4(c)

and 4(d).

      Notwithstanding anything contained herein to the contrary, the Master shall

not pay any funds to Ponderosa Operating as required under paragraphs 4(a), 4(b),

4(c) or 4(d), until Ponderosa Operating and/or Ponderosa-State shall have deposited

the sum of $160,000 into Account No. 2.

      5.     During the pendency of the captioned litigation, Ponderosa Operating,

its officers, managers and employees shall deliver to the Master and counsel for

Signal, Jaten and Riparia, within twenty (20) days after the end of each calendar

month: (a) all data concerning Ponderosa Operating's Operating Costs, incurred


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during the preceding month; (b) all reports filed by Ponderosa Operating with the

Texas Railroad Commission and the Texas Comptroller of Public Accounts during

the preceding month, relating to the production of oil, gas, condensate and other

liquid hydrocarbons from the Agreed Riverbed, as well as theproceeds from the sale

of oil, gas, condensate and other liquid hydrocarbons produced from the Agreed

Riverbed; and(c)copies of allchecks evidencing thepayment of severance taxon oil,

gas, condensate and other liquid hydrocarbons produced from the Agreed Riverbed

during the preceding month.

      6.     On or before June 1, 2018, Ponderosa Operating and Ponderosa-State,

and their officers, managers and employees shall: (a) provide counsel for Signal,

Jatenand Riparia with a full and complete accounting of the proceeds theyreceived

from theproduction of oil, gas, condensate and otherliquid hydrocarbons, produced

from wells located in the Agreed Riverbed, duringthe period of September 1, 2017

through March 31, 2018, and the severance tax they paid on those proceeds of

production; (b) depositintoAccountNo. 2, an amountequalto the difference, ifany,

between: (i) 36.75% of the proceeds of production of oil, gas, condensate and other

liquid hydrocarbons produced from wells located in the Agreed Riverbed during the

period ofSeptember 1,2017 through March 31,2018, less applicable severance taxes,

and (ii) the sums directly deposited into Account No. 2, prior to June 1, 2018, by


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Ponderosa Operating and/or Ponderosa-State (excluding any direct deposits into

AccountNo. 2 bypurchasers of oil and gas producedfrom the AgreedRiverbed); and

(c) deposit into Account No. 1, an amountequal to the difference, ifany, between(i)

21.50% of the proceeds of production of oil, gas, condensate and other liquid

hydrocarbons produced from wells located in the Agreed Riverbed during theperiod

of September 1,2017 throughMarch 31,2018, less applicable severance taxes, and

(ii) the sums directly deposited into Account No. 1, prior to June 1, 2018, by

Ponderosa Operating and/or Ponderosa-State (excluding any direct deposits into

AccountNo. 1 by purchasers of oil and gas produced from the AgreedRiverbed). In

the event that on June 1, 2018, Ponderosa Operating and Ponderosa-State have

deposited funds in Account No. 2 in excess of those required underparagraphs 6(b)

and 6(c), then the Master shall promptly refund any such excess to Ponderosa

Operating.

      7.     During the pendency of this litigation, Signal, Jaten and Riparia shall

have the right, upon reasonable notice to Ponderosa Operating, to inspect all oil and

gas wells and facilities located on the Agreed Riverbed.

      8.     The Court shall take under advisement, the requests ofSignal, Jaten and

Riparia for sanctions in connection with Ponderosa Operating's violation of the

Court's October 6, 2017 Order entered in the captioned matter.


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      SIGNED this 28th           day of    March          , 2018.


                                             JUDGE PRESIDING



APPROVED AS TO SUBSTANCE
AND FORM:


LEON MITCHELL
Leon Mitchell, SBN 14220700
Counsel for Ponderosa TX Operating,
LLC and Ponderosa-State Energy,
LLC


JOE W. HAYES
Joe W. Hayes, SBN 09277300
Counsel for Jaten Oil Company and
Riparia, LC

WILLIAM L. SESSIONS
William L. Sessions, SBN 18041500
Counsel for Signal Drilling, LLC

KENT RIES
KentRies, SBN 16914050
Court Appointed Master




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                            Filed 10/23/19 Entered 10/23/19     8/28/2018
                                                             19:40:16     12:13A.
                                                                        Exhibit  PM
                           State Court Orders Pg 18 of 21Robin Stroud, District Clerk
                                                         Hutchinson County, Texas
                                                         By:Tammy McBrayer
                                 CAUSE NO. 41971


SIGNAL DRILLING, LLC,                     §      IN THE DISTRICT COURT OF
                                          §
           Plaintiff/Counter-Defendant,   §
                                          §
and                                       §
                                          §
JATEN OIL COMPANY,                        §
           Involuntary Plaintiff,         §
                                          §
RIPARIA, LC,                              §
           Intervenor,                    §
                                          §
MOLORI ENERGY, INC.,                      §
           Intervenor,                    §
                                          §
v.                                        §      HUTCHINSON COUNTY, TEXAS
                                          §
NEW-TEX OPERATING, LLC,                   §
NEW-TEX PETROLEUM II, LP, NTP             §
GENERAL II, LLC, NEW-TEX                  §
OPERATING II, LLC, HAYMAKER               §
OIL AND GAS, LLC, BEAU KELLEY,            §
and SANDRA BROWN,                         §
                                          §
           Defendants/Counter-Plaintiffs, §
                                          §
and                                       §
                                          §
PONDEROSA TX OPERATING, LLC               §
f/k/a PONDEROSA OPERATING, LLC,           §
PONDEROSA ENERGY, LLC,                    §
PONDEROSA-STATE ENERGY, LLC,              §
DND OIL, INC., THE STATE OF TEXAS, §
TEXAS GENERAL LAND OFFICE AND             §
GEORGE P. BUSH, in official capacity,     §
           Defendants.                    §      84TH JUDICIAL DISTRICT

                  AGREED ORDER MODIFYING
   MARCH 28, 2018 AGREED ORDER RE: GRANTING MOTION TO
           ENFORCE THE OCTOBER 6, 2017 ORDER

     On this date came on for consideration an Agreed Motion by Ponderosa TX
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Operating, LLC, Jaten Oil Company, Signal Drilling, LLC, and Molori Energy,

Inc. (“Moving Parties”) for the modification of the Agreed Order Re: Motion for

Enforce The October 6, 2017 Order, entered on March 28, 2018 (the “March 28,

2018 Order”).

      The Moving Parties have represented to the Court that they have

encountered difficulties securing the payment of the proceeds from the production

of oil, gas, condensate and other liquid hydrocarbons from those oil and gas wells

located on the agreed riverbed of the Canadian River, as defined in the Canadian

River Mineral Boundary Agreement (the “Agreed Riverbed”), pursuant to

provisions of the Court’s March 28, 2016 Order. Said Agreed Riverbed leases

hereafter are referred to as the “Agreed Riverbed Leases.”

      The Moving Parties further have represented that Valero Energy Corporation

(“Valero”) and DCP Midstream (“DCP”), purchasers of oil and gas from the

Agreed Riverbed Leases, have suspended payment of all runs on said leases.

      The Moving Parties further have represented to the Court that they have

good cause to believe that Valero and DCP will agree to division orders directing

them to pay all of the proceeds of their respective purchases of oil and gas from the

Agreed Riverbed Leases to Kent Ries, the Court Master (the “Court Master”). The

parties have filed an Agreed Motion to have all payments for oil and gas




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production from the Agreed Riverbed Leases paid to the Court Master and to have

this Court’s March 28, 2018 Order modified as provided herein.

      IT IS THEREFORE ORDERED, ADJUDGED and DECREED that the

Moving Parties cooperate with the prompt preparation of agreed division orders

directing Valero and DCP to pay all of the proceeds of their respective purchases

of oil and gas from the Agreed Riverbed Leases to the Court Master, and to cause

the prompt delivery of said division orders to Valero and DCP.

      IT IS FURTHER ORDERED, ADJUDGED and DECREED that all other

provisions of this Court’s March 28, 2018 Order otherwise shall remain in full

force and effect, absent further order of this Court.

      IT IS FURTHER ORDERED that by September 30, 2018, and thereafter on

a monthly basis on the last day of each succeeding month until further order of this

Court, the Court Master shall file and serve: 1) a report to this Court attaching the

most recent bank statement(s) for bank accounts maintained by the Court Master

for this matter, and 2) a chronological listing of all income received and all monies

paid by the Court Master during the month then ended. In his first report, the Court

Master shall include a copy of all prior months’ bank statements and report of

income received and expenses paid from the date of entry of the March 28, 2018

Order through the date of the first report.




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       All relief requested in the Motion and not specifically granted herein, is

 hereby denied.

      Signed this date: _August
                          __ _  27,
                                  _2018
                                    __ _ __ _ _ _ __




                                        HON. WILLIAM D. SMITH
                                        JUDGE PRESIDING BY APPOINTMENT




 Leon Mitch ll
         r No. 14220700




  o W. Hayes
  exas Bar No. 0927730
 Counsel for Jaten Oil Company and Riparia, LLC




Texas Bar No. 18041 500



Kenne(li G . Johnston
Texas Bar No. 00792608
Robert W. Gifford
Texas Bar No. 24093543
Catherine E. (Kate) Gaither
Texas Bar No. 24059793
Counsel for Molori Energy, Inc.



            AGREED ORDER MODIFYING MARCH 28, 2018 ORDER - - PAGE 4
